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 CASEY JAM ES HARVEY                         EIn Violation of:
                                             i21U.S.C.j846
                                             !21u s.c.j841(b)(1)(A)
                                                    .

                                             :                                            .


                                      IN FORM ATION
TheUnited Stateschargesthat:
                                          Cotm t1
1. Beginning in oraboutD ecem ber2017 and continuing to in oraboutAugust2018in the
   W estem DistdctofVirginiaand elsewhere,thedefendant,CASEY JAM ES HARVEY,
   knowingly and intentionally conspired with otherpersonsknown ànd unknown,to diskibute
   fivehtmdred(500)g' rnmsormoreofamixtureandsubstancecontainingadetectiblenmotmt
   ofmethnmphetnmine,aSchedule11contrqlled substance,inviolationof21U.S.C.jj
   841(a)(1)and 841(b)(1)(A).
2. A11inviolationofTitlei1,UnitedStatesCède,Section 846.

                                          Cotmt2
3. In oraboutJtme2018,in theW estem DistrictofVirginia,thedefendant,CA SEY JAM ES
   HARVEY,knowinglyandintentionallypossessedwith intenttodistributefivehtmdred(500)
   grnmsormoreofa mixtureand substancecontaiaiqg adetectible nmountof
   m ethnmphetnmine,a Schedule11controlled substance.
4. A11inviolationofTitle21,United StatesCode,Section 841(a)(1)and841(b)(1)(A).




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                                       N oticeofForfeiture

   Upon conviction ofoneorm oreofthefelony offensesalleged in CotmtsOne and Two this
   Information defendàntshallforfeittotheUnited SGtes:
       a.any property constituting orderived from anyproceedsobtained directly orindirectly
       asaresult'ofsaidoffensespursuanttoTitle21,United StatesCode,Section 853(a)(1).
                               .
                                   '


       b. any propertyused,orintended tobeused,in any m nnnerorpart,to comm it,orto
       facilitatethecom mission ofsaid offenses,ptlrsuantto Title21Urlited StatesCode,
       Section853(a)(2).
6. Theproperty to beforfeited includes,butisnotlim ited to,thefollowing:
       a. $1,340,in U.S.currency.
7. Ifany oftheproperty descdbed above,asaresultofany actorom ission ofthe defendant:
       a. cnnnotbelocatedupon the exerciseofduediligence;
       b. hasbeen transfen'
                          ed orsold to,ordepositedwith,athirdparty;
       c. hasbeenplacedbeyondthejM sdictionofthecourt;
       d. hmsbeen substantially dimilshed invalue;or
       e. hasbeen com mingled with otherproperty which cnnnotbedividedwithoutdifficulty,
theUrtited StatesofAmerica shallbeentitled to forfeitureofsubstimteproperty plzrsuantto Title
21,United StatesCode,Section 853û$.


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     SLNS L CULLEN
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